UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
 SKYLER LUSK, TIA COUNCIL, VIKTORIA
 O’BRIEN, AND JUSTIN BYROAD, on behalf of
 themselves and all other employees similarly situated,       CONSENT TO BECOME A
                                                                PARTY PLAINTIFF
                                             Plaintiffs,
                                                                    Civil Action No.
              v.                                                        17-6451

 SERVE U BRANDS, INC., INSOMNIA COOKIES,
 LLC, AND SETH BERKOWITZ,
                               Defendants.

      Plaintiffs hereby file Consent to Become a Party Plaintiff signed by: DAISHA BACON,

ELOISA CABELLO, TASHNE’ FARROW, SAMANTHA FISCHER, DAISIREE FISHER-

TURNER, BRENDAN FLAHERTY, JOY GOMES, MARY HEARD, ANTOINE HOLMES,

LIONEL JACKSON, KISHORE KONDEPUDI, JOHN MCGEE, HEATHER MILLER,

FRANKLIN NICKLE, ANDREW PARKER, CHRISTIE RICHIE, WILLIAM RUSSELL,

JESMOND SCOTT, DANIELLE SIENKO, HALEY TOWNLEY, MICHAEL VOLDECK,

J’LENNA VORNES, and JACOB WHITE.




                                  By:    /s/ Jessica L. Lukasiewicz
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